MANDATE
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                           UNITED STATES COURT OF APPEALS
                                      FOR THE
                                   SECOND CIRCUIT
             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     18th day of August, two thousand twenty-one.

     Before:     Robert D. Sack,
                 Richard J. Sullivan,
                 Steven J. Menashi,
                        Circuit Judges.
     ____________________________________

      United States of America,

                   Plaintiff - Appellant,                          JUDGMENT

      v.                                                           Docket Nos. 19-2881(L),
                                                                   19-2892(CON)
      Sinmyah Amera Ceasar,

                Defendant - Appellee.
     ________________________________________

             The appeals in the above captioned case from an amended judgment of the United States
     District Court for the Eastern District of New York were argued on the district court’s record and
     the parties’ briefs. Upon consideration thereof,

              IT IS HEREBY ORDERED, ADJUDGED and DECREED that the judgment of the
     district court is VACATED and the case is REMANDED for resentencing consistent with 18
     U.S.C. § 3553(a) and this Court’s opinion.

                                                         For the Court:

                                                         Catherine O’Hagan Wolfe,
                                                         Clerk of Court




MANDATE ISSUED ON 11/16/2021
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  19-2881(L)
  United States of America v. Sinmyah Amera Ceasar

                       UNITED STATES COURT OF APPEALS
                           FOR THE SECOND CIRCUIT
                                  August Term, 2020
              (Argued: October 19, 2020         Decided: August 18, 2021)
                         Docket Nos. 19-2881(L); 19-2892(con)


                             UNITED STATES OF AMERICA,
                                     Appellant,

                                           v.

                              SINMYAH AMERA CEASAR,
                                 Defendant-Appellee.




  Before:      SACK, SULLIVAN, AND MENASHI, Circuit Judges.

         The government appeals the 48-month sentence imposed in an amended

  judgment, entered by the United States District Court for the Eastern District of

  New York (Jack B. Weinstein, J.), on defendant-appellee Sinmyah Amera Ceasar.

  Ceasar pleaded guilty to one count of conspiracy to provide material support to a

  foreign terrorist organization—the Islamic State of Iraq and Syria ("ISIS") (also

  referred to as the Islamic Sate of Iraq and the Levant or "ISIL")—in violation of 18

  U.S.C. § 2339B(a). While on presentence release, Ceasar violated the conditions

  of her release by resuming contact with known supporters of ISIS and other
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  extremist groups, attempting to conceal these communications from law

  enforcement authorities, and then lying to the FBI about her conduct. Ceasar

  was also charged with obstruction of justice, to which she pleaded guilty. Ceasar

  faced a total Sentencing Guidelines range of 360 to 600 months' imprisonment;

  the district court imposed a far-below-Guidelines sentence of 48 months. The

  government appeals, arguing that Ceasar's sentence was substantively

  unreasonable. For the reasons set forth below, we agree. Accordingly, we

  VACATE the judgment of the district court and REMAND for resentencing.

                                       IAN C. RICHARDSON, Assistant United States
                                       Attorney (David C. James and Joshua G.
                                       Hafetz, on the brief), for Jacquelyn M.
                                       Kasulis, Acting United States Attorney for
                                       the Eastern District of New York;

                                       COLLEEN P. CASSIDY, Federal Defenders of
                                       New York, Inc., for Defendant-Appellee.



  SACK, Circuit Judge:

        It is undisputed that beginning in or around January 2016, the defendant-

  appellee, Sinmyah Amera Ceasar, conspired to provide material support to the




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  Islamic State of Iraq and Syria ("ISIS"), 1 in violation of 18 U.S.C. § 2339B(a) (the

  "Material Support Offense"). Using social media and the encrypted messaging

  application Telegram, Ceasar expressed her support for ISIS, encouraged others

  to join ISIS abroad, and helped individuals in the United States contact ISIS

  members overseas. The overseas ISIS members then facilitated U.S.-based ISIS

  supporters' travel to ISIS-controlled territory. Ceasar herself intended to travel to

  ISIS territory by way of Sweden, where she planned to marry another ISIS

  supporter. In November 2016, Ceasar was arrested at New York's John F.

  Kennedy International Airport on her way to Sweden via Turkey. Following her

  arrest, Ceasar entered into a cooperation agreement with the government in

  which she pleaded guilty to one count of conspiracy to provide material support

  to a foreign terrorist organization. In April 2018, the United States District Court

  for the Eastern District of New York granted her presentence release.


         While on presentence release, Ceasar reoffended. Despite the fact that the

  conditions of her release explicitly prohibited her from contacting individuals or

  organizations affiliated with foreign terrorist groups, Ceasar obtained a laptop


  1See United States v. Doe, 323 F. Supp. 3d 368, 370 (E.D.N.Y. 2018) (Weinstein, J.). ISIS is
  also known as the "Islamic State of Iraq and al-Sham," and the "Islamic State of Iraq and
  the Levant" ("ISIL"). See United States v. Mumuni, 946 F.3d 97, 101 n.4 (2d Cir. 2019). In
  this opinion, we use the acronyms "ISIS" and "ISIL" interchangeably. See id.

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  computer, recreated pseudonymous social media accounts, and resumed

  contacting or attempting to contact several individuals known to be supporters

  of ISIS or other extremist groups. The FBI, investigating Ceasar's conduct, found

  that she had intentionally deleted incriminating communications and had

  instructed others with whom she had been in contact to do the same. The bond

  underlying her presentence release was revoked, and she was remanded

  pending sentencing. When the FBI interviewed Ceasar about her conduct while

  on presentence release, she made a significant number of false and misleading

  statements.


        In connection with her conduct while on presentence release, Ceasar

  pleaded guilty to an additional charge of obstruction of justice, in violation of 18

  U.S.C. § 1512(c)(1) (the "Obstruction Offense").


        Mental health professionals who met with and treated Ceasar characterize

  her conduct as a misguided search for community stemming from a lifetime of

  sexual, physical, and emotional abuse and neglect. Beginning in her childhood,

  Ceasar's father sexually abused her. At age 13, she entered the foster care system

  and was abused or neglected in each home in which she was placed. While

  Ceasar has never been legally married, she entered into three successive so-called



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  "religious marriages" with older men, beginning when she was 16. In each of

  those marriages, her husband physically or emotionally abused her. Ceasar was

  diagnosed with complex post-traumatic stress disorder as a result of the abuse

  and trauma she endured.

        Ceasar faced a Sentencing Guidelines range of 360 to 600 months'

  imprisonment. Prior to sentencing, the district court ordered the government

  and Ceasar to provide expert witness testimony or other materials to assist in its

  sentencing determination. The district court held a multiday sentencing hearing

  at which two government and three defense experts testified as to Ceasar's

  involvement with and support of ISIS and whether she would be likely to

  reoffend.


        The district court concluded that the advisory Guidelines range was

  "excessively harsh" and varied downward from it dramatically. The court found

  that Ceasar was motivated by the abuse and trauma she suffered most of her life,

  and that she needed educational and mental health support in lieu of a long

  prison sentence. On June 26, 2019, despite the Guidelines minimum of 360

  months, the court imposed a 46-month sentence on Ceasar for the Material

  Support Offense, one month for the Obstruction Offense, and one month for



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  committing an offense while on presentence release, pursuant to 18 U.S.C. § 3147,

  all to run consecutively for a total term of 48 months' imprisonment. Because she

  had been in custody from the time of her arrest in November 2016 until she was

  granted presentence release in April 2018, and was then remanded to custody on

  July 19, 2018 (following her violation of the conditions of her presentence

  release), Ceasar served only 13 additional months from the time of sentencing

  (June 26, 2019) until she was released from prison on July 28, 2020.


        The government appealed on substantive reasonableness grounds, arguing

  that the district court abused its discretion by considering Ceasar's need for

  rehabilitation to the exclusion of other sentencing factors, and that this mitigating

  sentencing factor could not bear the weight assigned to it. The government

  further argues that Ceasar's sentence was shockingly low compared with other

  sentences imposed for similar crimes.


        We are not without sympathy for Ceasar, but we are constrained to agree

  with the government. We conclude that the district court placed more emphasis

  on Ceasar's need for rehabilitation than that sentencing factor could bear, and

  failed adequately to weigh section 3553(a) factors that balance the needs and

  circumstances of an individual defendant against, among other things, the goals



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  of protecting the public, deterring criminal behavior, and engendering respect

  for the law. We further conclude that in comparison with sentences for similar

  terrorism crimes, Ceasar's sentence of 48 months' imprisonment was shockingly

  low and unsupportable as a matter of law. We therefore vacate the judgment of

  the district court and remand for resentencing.


                                     BACKGROUND

       I.   The Offense Conduct

        Beginning in or around January 2016 and through November 2016,

  defendant-appellee Sinmyah Amera Ceasar conspired to provide material

  support to the Islamic State ("ISIS" or "ISIL") 2 in violation of 18 U.S.C. § 2339B(a).

  United States v. Ceasar, 388 F. Supp. 3d 194, 200 (E.D.N.Y. 2019). She acted as an

  ISIS "assistant" by using Telegram, an encrypted messaging application, to put

  individuals in the United States who were interested in joining ISIS in contact


  2 Since 2004, the United States Department of State has designated ISIS as a foreign
  terrorist organization. Bureau of Counterterrorism, Foreign Terrorist Organizations, U.S.
  DEP'T OF STATE, https://www.state.gov/foreign-terrorist-organizations/. As we have
  previously observed, ISIS is "an organization that has called on members to commit
  attacks in retaliation for the actions of the United States in Syria and Iraq." Am. Civil
  Liberties Union v. U.S. Dep’t of Def., 901 F.3d 125, 131 n.7 (2d Cir. 2018) (internal
  quotation marks omitted); United States v. Khusanov, 731 F. App'x 19, 23 (2d Cir. 2018)
  (summary order) (ISIS, to which the defendant was accused of giving material support,
  is "committed to surprise, as well as planned, attacks on United States persons inside, as
  well as outside, this country . . . .").


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  with ISIS members overseas. Those ISIS members would then assist U.S.-based

  ISIS supporters in traveling to ISIS-controlled territory. During her plea

  allocution, Ceasar stated that she "believed that if these individuals made it to

  [ISIS-controlled territory], they would join the group and work under its

  directions and control." Gov't App'x at 19.

        Ceasar also used social media to demonstrate her support for ISIS and to

  encourage others to join ISIS abroad. As the district court found, Ceasar

        used multiple social media accounts to upload images and videos
        showing support for ISIL and encouraging people to migrate to ISIL-
        controlled territory, to post quotes and audio recordings of ISIL
        leaders, and to express her support for acts of violence by ISIL or
        inspired by ISIL. . . . Ceasar attempted to assist at least four people
        join ISIL abroad . . . .

  Ceasar, 388 F. Supp. 3d at 200-01.

        Ceasar herself intended to travel to ISIS-controlled territory by way of

  Sweden, where she planned to meet and marry another ISIS supporter. Id. at

  202-03. On November 15, 2016, Ceasar was arrested at New York's John F.

  Kennedy International Airport on her way to Sweden via Turkey.

        Following her arrest, Ceasar waived her Miranda rights and admitted that

  she had decided to support ISIS after watching online videos of ISIS members

  carrying out beheadings. She further admitted to putting individuals in the



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   United States in contact with ISIS members abroad who would assist those U.S.-

   based individuals in traveling to ISIS-controlled territory.

         On February 10, 2017, pursuant to a cooperation agreement, Ceasar

   pleaded guilty to one count of conspiracy to provide material support to a

   foreign terrorist organization in violation of 18 U.S.C. § 2339B(a). The

   government describes her cooperation as initially "promising[,] and [it] resulted

   in the collection of some evidence valuable to several national security

   investigations." Gov't Br. at 12. Her cooperation, however, was short-lived.

         In April 2018, Ceasar applied for and was granted presentence release on a

   $50,000 bond with several conditions, including submission to electronic

   monitoring and a prohibition from contacting individuals or organizations

   affiliated with foreign terrorist groups. She was permitted to use a phone or

   computer for limited purposes only, such as contacting her counsel and

   conducting educational or vocational research. Ceasar, 388 F. Supp. 3d at 203.

         Ceasar soon began to violate these conditions. She obtained a laptop

   computer and recreated pseudonymous social media accounts for use in

   contacting or attempting to contact at least seven people whom she had

   previously identified to the FBI as ISIS supporters or supporters of other




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   extremist groups. Id. On June 29, 2018, approximately one month after her

   release, Ceasar submitted the laptop to United States Pretrial Services to have

   monitoring software installed. Id. Inspection of the computer revealed Ceasar's

   use of these social media accounts to search for and contact individuals known to

   be supporters of terrorist organizations. Id. at 203-04.

         FBI agents began to investigate Ceasar's conduct. They discovered that she

   had intentionally deleted incriminating communications and had instructed

   others with whom she had been in contact to do the same. She deleted at least

   1,000 Facebook messages, approximately 1,000 text messages, and a collection of

   emails, audio files, and images from her cell phone. Id. at 204.


         On July 19, 2018, the district court revoked Ceasar's bond and remanded

   her to custody pending sentencing. In the course of its investigation of Ceasar's

   presentence release conduct, the FBI interviewed her on January 2, 2019. Id. at

   204-05. During the interview, Ceasar made many false and misleading

   statements about, among other things, her creation and use of pseudonymous

   Facebook and email accounts, her familiarity and interaction with an ISIS-related

   Facebook page and computer application, and her communications with ISIS

   supporters. Id.



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             For her conduct while on presentence release, Ceasar waived indictment

   and was charged by information with the Obstruction Offense. Gov't App'x at

   22. The information alleged that from June to July 2018, Ceasar "did knowingly,

   intentionally and corruptly alter, destroy, mutilate and conceal one or more

   records, documents and other objects, to wit: Facebook messages and text

   messages, with the intent to impair the objects' integrity and availability for use

   in one or more official proceedings . . . ." Id. On March 7, 2019, pursuant to a

   plea agreement, Ceasar pleaded guilty to the Obstruction Offense.


       II.      Ceasar's Background

             It is undisputed that Ceasar has led an extremely difficult life. Her parents

   divorced when Ceasar was very young. Her father began sexually abusing her

   when she was four years old; the abuse continued until she was 11. Her mother

   was ill, suffering from diabetes and kidney failure, eventually going blind as a

   result of her diabetes. During Ceasar's childhood, she acted as her mother's

   primary caregiver. Ceasar, 388 F. Supp. 3d at 196. When Ceasar was 13 years old,

   her mother was admitted to a nursing home where she remained until her death

   from a heart attack at age 49, when Ceasar was 22 years old.




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             At the time her mother went to live in a nursing home, Ceasar was placed

   in the foster care system. She lived in three foster homes over four years and was

   abused or neglected in each. She dropped out of high school and signed herself

   out of foster care at age 17. Id. at 220.


             While Ceasar has never been legally married, she entered into three

   successive "religious marriages" with older men, each of whom physically or

   emotionally abused her. Id. at 197. The marriages were arranged by a religious

   leader at Ceasar's mosque. She entered the first such marriage at age 16 and was

   married twice more before the age of 20. The third marriage ended in 2014 after

   a miscarriage that resulted in Ceasar's hospitalization for suicidal depression; she

   had begun experiencing suicidal ideation at age 11. As a result of the abuse she

   endured throughout her life, she suffers from complex post-traumatic stress

   disorder ("PTSD"). Id.


      III.      The Sentencing Proceedings—Expert Testimony

             Prior to sentencing, the district court ordered both the government and

   Ceasar "to provide expert witnesses or materials that might permit the court to

   make a more effective sentencing determination to protect the public and

   encourage the defendant's rehabilitation." Gov't App'x at 21. The district court



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   then held a three-day hearing at which two government and three defense

   experts testified as to Ceasar's involvement with and support of ISIS, and

   whether she would be likely to reoffend. In its opinion explaining Ceasar's

   sentence, the district court recounted the experts' testimony in detail. Ceasar, 388

   F. Supp. 3d at 205-17. Their testimony as relevant to this appeal was as follows.


      1. The Government's Experts


             A. Dr. Lorenzo Vidino


         The government's first expert witness was Dr. Lorenzo Vidino, Director of

   the Program on Extremism at George Washington University. Ceasar, 388 F.

   Supp. 3d at 199. Dr. Vidino is an expert on terrorism; his work focuses on

   radicalization and recruitment for organizations such as ISIS and al-Qaeda. Dr.

   Vidino testified as to the importance of ISIS recruiters and facilitators, as well as

   the processes of radicalization, mobilization, and deradicalization from jihadist

   groups. In preparation for his testimony, Dr. Vidino had reviewed some of

   Ceasar's social media postings and her post-arrest statements about her social

   media activity. He did not meet or speak with her.

         Dr. Vidino testified that although ISIS no longer controlled territory, it

   continued to recruit and engage with supporters over the internet. He said that


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   Ceasar had "played two main roles" for ISIS, acting as "a disseminator and a

   connector." Gov't App'x at 130. According to Dr. Vidino, Ceasar acted as a

   "disseminator" by posting ISIS propaganda on social media and making it more

   accessible to the general public. Id. As the term suggests, Ceasar acted as a

   "connector" by "mak[ing] the connection between . . . people who have no

   connections whatsoever with ISIS, who have just started this radicalization

   trajectory, . . . with people who are ISIS members or who are [part] of some kind

   of inner circle of this informal community." Id. at 130-31. Dr. Vidino classified

   "connectors" as "one step up" from "disseminators." Id. at 131.


         Dr. Vidino identified several factors to assess whether a radicalized

   individual is disengaging and deradicalizing, such as "ending [one's] personal

   involvement in terrorism," "[d]istancing [oneself] from extremist activity," Gov't

   App'x at 186, "[d]istancing oneself from the group's ideology," "[b]reaking

   contact with individuals associated with the group or supporting its ideology,"

   and "[a]ccepting the punishment for crimes committed," Ceasar, 388 F. Supp. 3d

   at 207 (internal quotation marks and brackets omitted) (alterations added). As to

   whether Ceasar was progressing toward disengagement and deradicalization,

   Dr. Vidino testified that based on his review of her communications while she



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   was on presentence release and after she was remanded to custody, she retained

   the "worldview [and] the analytical frames of ISIS." Gov't App'x at 138. In

   support of this conclusion, Dr. Vidino noted that Ceasar already had engaged in

   the same kind of behavior—communicating with ISIS sympathizers—while on

   presentence release; that she equated Islam with ISIS and framed her prosecution

   for providing material support to a foreign terrorist organization as persecution

   for practicing her religion; and that she used the same derogatory language ISIS

   has used to refer to the American legal system. Id. at 138-45. As Dr. Vidino

   summarized: "The way she speaks is the way somebody [who] supports ISIS

   speaks." Id. at 141.


         When asked whether the United States has disengagement or

   deradicalization programs for people like Ceasar, Dr. Vidino responded in the

   negative. He explained that while some other countries, such as Denmark, the

   Netherlands, and Germany, offer such deradicalization programs, "we are miles

   away . . . from having programs that are effective, solid, with system[s] behind

   them. . . . And we have various initial experimental attempts which I think have

   not given results so far. That's the problem." Id. at 145-46.




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             B. Dr. Kostas Katsavdakis


         The government's second expert witness was Dr. Kostas Katsavdakis, a

   clinical and forensic psychologist. Dr. Katsavdakis conducted a threat

   assessment of Ceasar's risk for "targeted violence." Gov't App'x at 197; Ceasar,

   388 F. Supp. 3d at 208. Dr. Katsavdakis explained: "Targeted violence generally

   implies that a person engages in that kind of violence under a certain pathway,"

   Gov't App'x at 196, and, as the name suggests, "targets" a "particular group . . . or

   a particular individual," id. at 207.


         Dr. Katsavdakis reviewed Ceasar's medical records and interviewed her

   over the course of five sessions, between 2017 and 2019, for approximately ten

   hours in total. Ceasar, 388 F. Supp. 3d at 208. He concluded that "she poses a

   moderate risk for targeted violence based upon nine factors." Gov't App'x at 203.

   The first of these is "pathway warning behaviors," which are "behaviors that the

   person is engaging in to indicate that they are accelerating or on the pathway to a

   potential attack." Id. at 221. This is a spectrum of conduct that begins with

   "grievance," progresses to violent ideation and planning, and ends with an

   attack. Id. at 222. Dr. Katsavdakis concluded, based on Ceasar's communications

   about traveling to marry another ISIS supporter, going to ISIS-controlled



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   territory, and engaging in jihad, that Ceasar fell within the "planning and

   preparing" stage. Id. The second factor is "fixation," a "pathological

   preoccupation with an idea." Id. at 223. Dr. Katsavdakis concluded that,

   although Ceasar stated that she was no longer interested in ISIS, her behavior

   indicated otherwise: While on presentence release, she obtained a computer and

   resumed searching for ISIS-related content and communicating with ISIS

   supporters online. The third factor, identification, is "an attempt to become a

   warrior or pseudocommando . . . , and usually it's a sign that you're affiliating

   with or interested in a particular group or individual." Id. at 225. As examples of

   Ceasar's "identification," Dr. Katsavdakis testified that Ceasar had created a

   video "espousing not only travel overseas for Islamic purposes but also jihad,"

   and he cited her social media posts supportive of ISIS. Id. at 226. The fourth

   factor, "leakage," means "conveying to a third party, not the direct source, of your

   intent to engage in some kind of harmful act." Id. Here, Ceasar's internet posts

   and re-posts of videos were indicative of leakage. The fifth factor is presence of

   mental illness. Dr. Katsavdakis testified that Ceasar told him about her history of

   anxiety and depression, the abuse she suffered as a child, her religious

   marriages, and failures at school and work. Dr. Katsavdakis was also aware of




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   Ceasar's prior suicidal ideation, which was exacerbated by her miscarriage and

   abuse by her then-husband.


         The sixth factor is reliance on virtual community. This allows an

   individual engaged in activities supporting terrorism or terrorist groups to

   further isolate themselves and reinforce their extremist beliefs. Dr. Katsavdakis

   found this factor "evident" in Ceasar. Id. at 229. The seventh factor, failed

   relationships, was also obvious in Ceasar's history of, from a young age,

   successive, abusive marriages to older men. The eighth factor is thwarting

   occupational and academic goals. Ceasar dropped out of high school, and she

   subsequently "held very few jobs for any sustained period of time." Id. at 230.

   The ninth and final factor, presence of deception, manifested in Ceasar's

   obtaining a computer and returning to her ISIS-supporting community online

   while on presentence release, her false and misleading statements to the FBI

   about this conduct, and her statements to Dr. Katsavdakis that her awareness of

   the FBI's possible surveillance of her motivated her to move more quickly toward

   her end goals.




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         Based on these factors, Dr. Katsavdakis concluded that Ceasar posed a

   moderate risk and "that it would be difficult and a long-term process to case

   manage [Ceasar] . . . on probation." Id. at 234.


       2. The Defense's Experts

            A. Daisy Khan


         Daisy Khan is the founder and executive director of Women's Islamic

   Initiative for Spirituality and Equality ("WISE"). Ms. Khan was offered as an

   expert on counter-extremism and women in Islam. Ceasar, 388 F. Supp. 3d at 212.

   Ms. Khan met with Ceasar approximately six times while Ceasar was

   incarcerated and testified about what drew Ceasar to supporting ISIS. Ms. Khan

   stated that, in her opinion, Ceasar's motivations were personal, not ideological,

   and that Ceasar was no longer committed to an extremist cause.


         Ms. Khan further testified that based on Ceasar's history of abuse, Ceasar

   needed reeducation, healing from years of trauma, and membership in a healthy

   and productive community: "In addition to the psychiatric help that she's been

   getting, she needs to be in a community which is going to welcome her as if she's

   a family member. . . . I have taken the time to find such a community for her and

   she needs a life coach and a life mentor, which I am willing to do for her." Gov't


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   App'x at 281. Ms. Khan recommended the creation of a pilot program specific to

   Ceasar to manage her rehabilitation. Ceasar, 388 F. Supp. 3d at 213. Ms. Khan

   acknowledged, however, that she had not yet created or tested the type of

   program she was suggesting for Ceasar's rehabilitation, nor could she identify

   any facility that could adequately provide for Ceasar's rehabilitation. Id.


            B. Dr. Marc Sageman


         The defense's second expert witness was Dr. Marc Sageman, a forensic

   psychiatrist and expert on terrorism. Id. Dr. Sageman met with Ceasar for

   several hours on April 19, 2019, while she was detained after violating the

   conditions of her presentence release. Dr. Sageman also reviewed some

   discovery materials and Ceasar's medical records.

         Dr. Sageman testified that Dr. Katsavdakis's method of evaluating Ceasar

   was not validated or commonly used in the field of terrorism. He stated that the

   factors Dr. Katsavdakis relied upon apparently were taken from an article

   outside the terrorism literature and misapplied to Ceasar. The district court

   found this testimony unpersuasive because there was no evidence that Dr.

   Katsavdakis actually relied on that article. Id.




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         Dr. Sageman then offered his opinion on whether Ceasar would likely

   reoffend and, relatedly, on Ceasar's reasons for providing material support to

   ISIS. As to the continued risk Ceasar posed, Dr. Sageman testified that Ceasar

   was unlikely to reoffend with repeated conduct—connecting people to ISIS—

   because ISIS no longer controls physical territory, and its online presence has

   dwindled. Dr. Sageman further testified that, based on his interview of Ceasar,

   her affiliation with ISIS was "emotional" rather than radical. Gov't App'x at 318.

   He stated that Ceasar "was attracted to [ISIS] because it was . . . a caring

   community that [would] take care of her because she was basically looking for

   some people to take care of her." Id. at 320. Ceasar had experienced a lifetime of

   abuse that left her "alienated," and she was looking for a community; she found

   one, however violent and destructive, in the "idealized" online community of ISIS

   supporters. Id.; Ceasar, 388 F. Supp. 3d at 213-14.

         In evaluating her conduct while on presentence release, Dr. Sageman

   testified that Ceasar's communications did not necessarily indicate an ongoing

   commitment to ISIS. She did not, in Dr. Sageman's view, pose a risk of violence,

   nor was she dangerous, but she could rejoin a destructive community if she were

   "abandoned" as she was while on bail. Gov't App'x at 321-22. Dr. Sageman




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   testified that "[t]he best way to mitigate [this risk] is to introduce her to a

   community that will take care of her . . . and I think she will do well." Id. at 322.

   Dr. Sageman did not believe that Ceasar would again lend support to a foreign

   terrorist organization. Ceasar, 388 F. Supp. 3d at 214.


             C. Dr. Katherine Porterfield


         The defense's third and final expert witness was Dr. Katherine Porterfield,

   a clinical psychologist and expert in trauma and extremism. As of the time of

   sentencing, Dr. Porterfield had met with Ceasar for a total of approximately 130

   hours over the course of two years. She also had reviewed Ceasar's medical

   records and case-related materials.


         Dr. Porterfield described Ceasar's lifetime of abuse and trauma as "quite

   astonishing," Gov't App'x at 347, and testified that it left Ceasar with ongoing

   "severe impairments," id. at 349. Dr. Porterfield diagnosed Ceasar with complex

   PTSD, coupled with a serious condition of dissociation. Dr. Porterfield testified:

   "[M]y opinion is that [Ceasar's] clinical problems are very much the root of her

   very misguided and destructive and dysfunctional actions. She was a person

   who did not know how to handle her feelings of pain, shame and fear." Id. at

   351; Ceasar, 388 F. Supp. 3d at 214. As to why Ceasar sought out a violent


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   community online despite enduring years of abuse, Dr. Porterfield explained that

   Ceasar suffers from "betrayal trauma" from her father sexually abusing her and

   that, as a result, she developed a defense mechanism of self-destructive behavior.

   Gov't App'x at 352-54. The abuse Ceasar suffered impaired her "radar" for

   dangerous and delinquent people and situations; she "stayed in her cultural

   community, and, unfortunately, with her bad radar, went towards the worst

   forces in that community because of her very poor judgment and very poor

   emotional functioning." Id. at 354-55.


         Dr. Porterfield explained Ceasar's conduct while on presentence release as

   a form of relapse. She analogized Ceasar's return to the ISIS-supporting online

   community to a domestic violence victim returning to an abuser. Ceasar, 388 F.

   Supp. 3d at 215-16. Dr. Porterfield testified that Ceasar "was released without

   enough planning and without enough support," and that she thought Ceasar

   "went back []to . . . some very familiar dysfunctional people" because "she could

   not handle the stress at that point of being out, not having enough treatment, and

   not having enough of a community." Gov't App'x at 356; Ceasar, 388 F. Supp. 3d

   at 215-16.




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         Dr. Porterfield further testified that Ceasar did not maintain any

   commitment to ISIS and that she no longer "yearn[ed] for this fantasied absurd

   thing that she back then thought was going to give her a new life." Gov't App'x

   at 361. As to whether Ceasar should be incarcerated, Dr. Porterfield testified that

   prison would do further harm to Ceasar; her mental health issues would not be

   addressed, nor would she get the trauma-focused treatment that she needed.

   Ceasar, 388 F. Supp. 3d at 216-17. Dr. Porterfield testified that in addition to

   ongoing trauma treatment, Ceasar needed support and structure "to process her

   relationship to her community, to Islam, and to who she is [as] a young woman

   going forward." Gov't App'x at 365. At the conclusion of her testimony, Dr.

   Porterfield stated that she believed, "with ongoing support and treatment this

   young person is committed to rebuilding her life and would do so in a healthy

   way. She needs help." Id. at 401.


      IV.   The District Court's Sentence and Written Opinion

         At the conclusion of the three-day hearing, the defense asked the district

   court to impose a sentence of time served with a lifetime term of supervised

   release. The defense argued, based on the expert testimony, that Ceasar's

   conduct was the product of chronic abuse and that intensive treatment, not



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   prison, was the answer. The government disagreed. It asked the district court to

   impose a Guidelines sentence, arguing that Ceasar's serious offense—providing

   material support to ISIS—coupled with her conduct while on presentence

   release, and her ensuing lies about it to law enforcement authorities,

   demonstrated her dangerousness and risk of recidivism. The government

   argued, as it does on appeal, that a significant term of incarceration was

   necessary to incapacitate Ceasar and to deter those who may otherwise engage in

   similar conduct in the future.


         Before the court imposed its sentence, Ceasar spoke on her own behalf.

   She acknowledged the wrongfulness of her conduct and that she "mistook a

   terroristic organization, who used [her] religion, to be a sort of guidance in [her]

   life." Id. at 447. She further stated that she no longer supports or associates with

   any terrorist organizations and that she aimed to focus on bettering her health,

   education, and future. The district court also read into the record a letter of

   support it had received from Ceasar's brother.


         Based on Ceasar's total offense level of 40 and her criminal history

   category of VI due to applicable terrorism enhancements under section 3A1.4(b)

   of the Sentencing Guidelines, Ceasar faced a Guidelines range of 360 to 600



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   months' imprisonment. The district court concluded that this range was

   "excessively harsh," and varied downward from it considerably. Id. at 456.


         The court found that Ceasar "has moved substantially towards rejection of

   ISIL and now abjures the terrorist ideology." Id. at 458. It went on to discuss the

   factors it weighed in imposing the sentence:


         Under federal penal jurisprudence, the [c]ourt will consider general
         and specific deterrence; that is, what will indicate to the population
         generally what they should and should not do. And they should not
         do what this Defendant has done; that is, betray, in a sense, her
         citizens, the United States citizens, and its law enforcement by
         giving information to ISIL members or those who sought ISIL
         membership who are in this country. I believe that general and
         specific deterrence will result from the sentence I am imposing.
         I also must consider incapacitation. In case she slips back into this
         role, will the people of the country be sufficiently protected by her
         being in prison?
         We will also consider rehabilitation, although rehabilitation in
         prison, as we all know, is very difficult, and the question of
         punishment for doing bad acts; in this case, the aiding of ISIL.
         ...
         It's apparent that this young woman is in need of intensive educational,
         emotional, and economic support to address the trauma she has
         experienced and which has, in part, motivated her actions.

   Id. at 459-60. The district court further noted that the United States lacks the type

   of "intensive disengagement and deradicalization programs" that some European

   countries have implemented to rehabilitate those who commit terrorism-related



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   crimes. Id. at 461. The court also announced that it would issue a full written

   opinion.


          The court sentenced Ceasar to 46 months' imprisonment for the Material

   Support Offense, one month for the Obstruction Offense, and one month for

   committing an offense while on presentence release, pursuant to 18 U.S.C. § 3147.

   These sentences were to run consecutively, for a total term of imprisonment of 48

   months. The court also imposed eight years of supervised release. The

   government objected and requested that the court more fully explain its

   reasoning for the sentence imposed. The court replied that while it would lay

   out its reasoning in a written opinion, "a major factor is that[,] based on [the

   court's] repeated observations of [Ceasar]," along with the extensive record and

   expert testimony, "she is well on her way towards rehabilitation. And she

   presents or will present when this sentence has been served almost no danger to

   the country and that this sentence will also save her as a human being." Id. at

   469.


          Approximately one month after the sentencing hearing, the district court

   issued its written opinion. See Ceasar, 388 F. Supp. 3d at 194. The court

   recounted at length Ceasar's background, the offense conduct, and the experts'



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   and Ceasar's testimony at the sentencing hearing. Id. at 194-218. The court stated

   that it "carefully considered" the sentencing factors set forth in 18 U.S.C.

   § 3553(a), and while recognizing the seriousness of Ceasar's crimes, "the

   importance of specific deterrence, as well as general deterrence, to protect the

   public," it concluded that "[i]n this instance, rehabilitation and specific

   deterrence . . . go hand in hand." Id. at 219-20.


         The district court acknowledged that in its view, the ideal sentence—

   Ceasar's placement in an intensive deradicalization or disengagement program—

   would not be possible because no such program exists in the United States. Id. at

   220. Other countries, the court pointed out, have created such rehabilitative

   programs, and it recommended that the Bureau of Prisons follow suit. Id. at 221.

   Without an "adequate program of rehabilitation . . . , the court seriously

   considered whether a further term of incarceration was appropriate" and

   concluded that the seriousness of Ceasar's offenses "compelled . . . some

   incarceration as punishment and for control . . . ." Id.


         The court was mindful of the likely negative impacts of a long prison

   sentence on Ceasar's physical and mental health, however, and concluded that "a

   lengthy term of incarceration during which her medical needs are not fully met



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   would be extremely harmful to Ceasar's development as a productive member of

   society." Id. at 222. The district court reiterated Ceasar's sentence of 48 total

   months of incarceration and the conditions of her supervised release. Id. at 223-

   25.


         The government appealed.


                                      DISCUSSION

         The government argues that Ceasar's well-below-Guidelines sentence was

   substantively unreasonable. We agree. Despite our admiration for the district

   court's meticulous inquiry and analysis, and its care and compassion for Ceasar,

   we conclude that it placed more emphasis on Ceasar's need for rehabilitation

   than that sentencing factor could bear. It failed adequately to weigh section

   3553(a) factors that, inter alia, balance the needs and circumstances of an

   individual defendant against the goals of protecting the public, deterring

   criminal behavior, and engendering respect for the law. We further conclude

   that in comparison with sentences of others for similar terrorism crimes, Ceasar's

   sentence of 48 months' imprisonment was shockingly low and unsupportable as

   a matter of law.




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         I.   Applicable Law

          District courts "shall impose a sentence sufficient, but not greater than

   necessary, to comply with the purposes" of 18 U.S.C. § 3553(a)(2). 18 U.S.C.

   § 3553(a). In calculating a sentence, courts must consider and weigh the

   following factors:


          (1) the nature and circumstances of the offense and the history and
              characteristics of the defendant;
          (2) the need for the sentence imposed—
                (A) to reflect the seriousness of the offense, to promote respect for
                    the law, and to provide just punishment for the offense;
                (B) to afford adequate deterrence to criminal conduct;
                (C) to protect the public from further crimes of the defendant; and
                (D) to provide the defendant with needed educational or vocational
                    training, medical care, or other correctional treatment in the
                    most effective manner;
          (3) the kinds of sentences available;
          (4) the kinds of sentence and the sentencing range established for—
                (A) the applicable category of offense committed by the applicable
                    category of defendant as set forth in the guidelines . . .
          (5) any pertinent policy statement . . .
          (6) the need to avoid unwarranted sentence disparities among defendants
              with similar records who have been found guilty of similar conduct;
              and
          (7) the need to provide restitution to any victims of the offense.
   Id.




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          We are "constrained to review sentences for reasonableness," United States

   v. Richardson, 521 F.3d 149, 156 (2d Cir. 2008), and do so "under an abuse-of-

   discretion standard," Gall v. United States, 552 U.S. 38, 51 (2007); see also United

   States v. Verkhoglyad, 516 F.3d 122, 127 (2d Cir. 2008) ("reasonableness" review

   "applies both to the sentence itself and to the procedures employed in arriving at

   the sentence" (internal quotation marks omitted)). Review for "substantive

   reasonableness . . . requires that we consider only whether the length of the

   sentence is reasonable in light of the § 3553(a) factors." Richardson, 521 F.3d at

   156.

          In reviewing the substantive reasonableness of a sentence, we "consider

   whether [a sentencing] factor, as explained by the district court, can bear the

   weight assigned it under the totality of circumstances in the case." United States

   v. Cavera, 550 F.3d 180, 191 (2d Cir. 2008) (en banc). We do not consider how we

   might have weighed particular factors, id., but instead, "[o]ur role is no more

   than to patrol the boundaries of reasonableness," United States v. Stewart, 590 F.3d

   93, 135 (2d Cir. 2009) (internal quotation marks omitted). A sentence is

   substantively unreasonable if "affirming it would damage the administration of

   justice because the sentence imposed was shockingly high, shockingly low, or




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   otherwise unsupportable as a matter of law." United States v. Park, 758 F.3d 193,

   200 (2d Cir. 2014) (internal quotation marks omitted).

             Reviewing a sentence for substantive reasonableness requires us to "take

   into account the totality of the circumstances, including the extent of any

   variance from the Guidelines range." Gall, 552 U.S. at 51. While a sentence

   outside the Guidelines range is not presumptively unreasonable, the district

   court's justification for a non-Guidelines sentence must be "sufficiently

   compelling to support the degree of the variance." Id. at 50. And "a major

   departure should be supported by a more significant justification than a minor

   one." Id.


       II.      Analysis

             "Terrorism represents a particularly grave threat because of the

   dangerousness of the crime and the difficulty of deterring and rehabilitating the

   criminal." United States v. Mumuni, 946 F.3d 97, 112-13 (2d Cir. 2019) (internal

   quotation marks and alteration omitted); see also United States v. Meskini, 319 F.3d

   88, 92 (2d Cir. 2003) ("Congress and the Sentencing Commission had a rational

   basis for concluding that an act of terrorism represents a particularly grave threat

   . . . , and thus that terrorists and their supporters should be incapacitated for a



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   longer period of time."). But we have recognized in terrorism cases, too, that

   "sentencing is one of the most difficult—and important—responsibilities of a trial

   judge." United States v. Thavaraja, 740 F.3d 253, 259 (2d Cir. 2014). We will not

   lightly set aside such exercises of judicial discretion. As with sentencing appeals

   in other contexts, we do so only in "exceptional cases." Cavera, 550 F.3d at 189.

   For the reasons that follow, we conclude that this is one such case.

                  A.      Ceasar's Need for Rehabilitation

         It is not unusual for criminal conduct to arise from tragic circumstances

   affecting the defendant. In Ceasar's case, those circumstances were particularly

   pronounced. She suffered terrible sexual, physical, and emotional abuse for

   much of her life. That this traumatic history may have played a role in Ceasar's

   search for acceptance in a community—no matter how destructive or violent—

   does not, however, cancel out the seriousness of her offenses. When weighing

   Ceasar's personal history, the district court appears to have considered her

   background and ensuing needs for mental healthcare and rehabilitation nearly to

   the exclusion of countervailing sentencing factors. We conclude that this was an

   abuse of discretion.




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         In articulating its "ideal sentence"—which it recognized was unavailable—

   the district court nonetheless stressed that Ceasar would have benefited from

   rehabilitation programs that did not then exist, nor, to our knowledge, have since

   been developed. Ceasar, 388 F. Supp. 3d at 220-22. As both the government and

   defense experts testified at the sentencing proceeding, any such rehabilitation

   program and its efficacy remain untested in this country. In particular, Daisy

   Khan testified that Ceasar would benefit from the creation of a rehabilitation

   program but acknowledged that she had neither a facility nor a tested

   methodology or existing program to manage Ceasar's rehabilitation.


         The court's apparent acceptance of the experts' agreement that "no such

   satisfactory general [deradicalization or disengagement] program exists in the

   United States" is in considerable tension with its emphasis on Ceasar's need for

   rehabilitation as the factor that most influenced its sentencing decision. See id. at

   220-21. The district court stated that "Ceasar's counsel and the Probation

   Department are developing a program of intensive treatment and support for the

   term of her supervision after her incarceration" and instructed that "the treatment

   should begin in prison and connect seamlessly with control and assistance by

   Probation." Id. at 196. This reasoning suggests that Ceasar could get the



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   rehabilitative care she requires after—or even during—a term of incarceration,

   and therefore seems to render less persuasive the court's reliance on

   rehabilitation as a factor weighing against a longer prison sentence. Moreover, if

   at the time of sentencing, Ceasar's treatment program still required development

   and could not have been implemented until some future time, it is difficult to see

   how a longer sentence would have been detrimental to Ceasar's ultimate

   rehabilitation; she would have been awaiting the availability of such a program

   in any event. Gov't App'x at 389. We think the district court was mistaken in

   imposing a sentence so heavily based on the prospective creation of one or more

   such programs.


                  B.     Our Relevant Jurisprudence

         When we view Ceasar's sentence in the context of the crimes she

   committed, other defendants who have committed similar terrorism crimes, and

   our treatment of them, we conclude that the 48-month sentence imposed in the

   case at bar was shockingly low and therefore substantively unreasonable.


         In United States v. Stewart, 590 F.3d 93 (2d Cir. 2009) ("Stewart I"), the

   defendant-appellant Lynne Stewart had been a "dedicated public servant who

   had, throughout her career [as an attorney], represented the poor, the



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   disadvantaged and the unpopular," often as court-appointed counsel. Id. at 147

   (internal quotation marks omitted). She represented Sheikh Omar Ahmad Ali

   Abdel Rahman, who "was convicted of a variety of terrorism-related crimes,"

   including "soliciting the murder of Egyptian President Hosni Mubarak,"

   "attacking American military installations," "conspiring to bomb the World Trade

   Center in 1993, which succeeded," and "conspiring subsequently to bomb various

   structures in New York City, including bridges, tunnels," and the FBI's New York

   office, which did not succeed. Id. at 101. While imprisoned, Abdel Rahman was

   subject to Special Administrative Measures ("SAMs"), which, among other

   things, "prohibited him from having contact with others . . . that could

   foreseeably result in his communicating . . . terrorist information." Id. at 102

   (internal quotation marks and alterations omitted). Abdel Rahman was

   permitted to remain in contact with his lawyers, including Stewart, and Stewart

   executed documents in which she agreed to abide by the SAMs. Id. During

   visits with Abdel Rahman, however, Stewart violated the SAMs by "pass[ing]

   messages between third parties . . . and Abdel Rahman," and from Abdel

   Rahman to others. Id. at 103 (internal quotation marks omitted); see also United

   States v. Stewart, 686 F.3d 156, 161-62 (2d Cir. 2012) ("Stewart II").




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         Although Stewart faced a Sentencing Guidelines range of 360 months'

   imprisonment, the district court imposed a 28-month sentence. Stewart I, 590

   F.3d at 144. The government appealed the sentence as "unreasonable and unduly

   lenient." Id. at 134. Although we were "impressed by the factors that figured in

   Stewart's modest sentence—particularly her admirable history of providing, at

   no little personal cost to herself, proficient legal services in difficult cases to those

   who could not otherwise afford them," we found Stewart's sentence to be

   "strikingly low" in light of her criminal conduct and her use of "her privileged

   status as a lawyer to facilitate her serious violation of the law." Id. at 147-48.

   Together with her possible commission of perjury at trial—a fact on which the

   district court had not made an explicit finding—we concluded that remand was

   required for the district court to make such a finding and then to resentence

   Stewart. Id. at 151.


         On remand, the district court imposed a below-Guidelines, but greatly

   increased, sentence of 120 months' imprisonment. We affirmed despite Stewart's

   claim that the new sentence was substantively unreasonable. Stewart II, 686 F.3d

   at 179-80. In light of her "severe criminal conduct in aid of a terrorism

   conspiracy," and the facts that she "abus[ed] the trust that the government had



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   placed in her as a member of the bar" and had "lied repeatedly under oath," we

   rejected her contention that the 120-month sentence was "shockingly high." Id. at

   181.


          As in our Stewart decisions, so too here there are mitigating factors that

   may render a Guidelines sentence unduly harsh and that may merit

   consideration and weight when determining the appropriate sentence. But also

   as in Stewart, the sentence imposed is "strikingly low" in light of the seriousness

   of the defendant's conduct. Stewart I, 590 F.3d at 148.


          In United States v. Mumuni, 946 F.3d 97 (2d Cir. 2019), we held that the

   district court had abused its discretion by imposing a sentence well below the

   applicable Guidelines range where that sentence was based on, inter alia,

   assigning mitigating factors weight that they could not bear. Id. at 112. There,

   the defendant pleaded guilty to multiple terrorism counts, including conspiracy

   and attempt to provide material support to ISIS, conspiracy to assault federal

   officers, attempted murder of federal officers, and assault of a federal officer with

   a deadly or dangerous weapon. Id. at 101. Mumuni faced a Guidelines sentence

   of 85 years' imprisonment. Id. at 104. The district court imposed a 17-year

   sentence, and the government appealed on substantive reasonableness grounds.



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   Id. at 101, 105-06. One of the three bases on which we concluded that Mumuni's

   sentence (albeit more than four times that imposed in Ceasar's case) was

   "shockingly low and unsupportable as a matter of law" was that the district court

   placed improper weight on mitigating factors, including Mumuni's youth at the

   time of his offense, his lack of criminal record, and his good behavior while

   incarcerated pretrial and presentence. Id. at 108, 112. To the extent that such

   mitigating factors accounted for an 80% downward variance from the

   Guidelines, we concluded that in a "case involving terrorism and such serious

   offense conduct, . . . reliance on these mitigating factors produced a sentence that

   shocks the conscience and cannot be located within a permissible range of

   decisions." Id. The same is true with respect to the sentence before us here.


         Ceasar's attempts to distinguish the instant case from Mumuni are

   unavailing. She argues that our decision there should have "no bearing on this

   case" and that it is best understood as a reflection of our disapproval of the

   district court's discounting the violent nature of Mumuni's crimes. Def. Br. at 55-

   57. But there, "we identif[ied] three errors that render[ed] Mumuni's sentence

   substantively unreasonable," including the district court's (1) reliance "on a

   sterilized account" of Mumuni's attack on a federal agent and its second-guessing



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   of the record that conflicted with its own acceptance of Mumuni's guilty plea; (2)

   unsupported and contradictory explanations of the sentencing disparity between

   Mumuni and his co-conspirator; and (3) reliance on mitigating factors that could

   not bear the weight assigned to them. Mumuni, 946 F.3d at 107-08. None of these

   errors was determinative. To the contrary, we concluded that "[j]ointly and

   severally, these errors caused the [d]istrict [c]ourt to render a sentence that is

   shockingly low and unsupportable as a matter of law." Id. at 108.


         Ceasar further argues that the mitigating factors present here—her lifetime

   of abuse and neglect and need for rehabilitation—are more serious than those

   considered in Mumuni and, according to Ceasar, merit the weight assigned to

   them. In an appeal we decided before United States v. Booker, 543 U.S. 220 (2005),

   at a time when the Guidelines were thus understood to be mandatory, we

   nonetheless "conclude[d] that in extraordinary circumstances . . . district courts

   may properly grant a downward departure [from a Guidelines sentence] on the

   ground that extreme childhood abuse caused mental and emotional conditions

   that contributed to the defendant's commission of the offense." United States v.

   Rivera, 192 F.3d 81, 85 (2d Cir. 1999). While Booker has since rendered the

   Guidelines non-mandatory and variances—as distinct from "departures"—from



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   them are therefore permissible, Stewart I, 590 F.3d at 137 n.32 (distinguishing

   between departures and variances), variances must still be reasonable. We

   conclude that the district court's very substantial downward variance from the

   Guidelines sentence here was unreasonable; it was not "within the range of

   permissible decisions." Park, 758 F.3d at 200 (internal quotation marks omitted).

   It was, as we have noted, based on the potential creation of then-untested

   rehabilitation programs—which may never come into existence—and failed to

   weigh competing sentencing considerations. Obviously, as Dr. Porterfield

   acknowledged, not every person who suffers such extreme abuse and trauma

   seizes the opportunity to provide material support to ISIS or commit obstruction.

   Gov't App'x at 367. To the extent Ceasar invites us to decide the threshold at

   which the gravity of a defendant's personal circumstances merits a sentencing

   variance of this magnitude, we decline to do so.


         In sum, the district court's approximately 87% downward variance from

   the bottom of the 360- to 600-month Guidelines range was based on Ceasar's

   need for rehabilitation and the potential detrimental effects of a long prison

   sentence on her physical and mental wellbeing. Ceasar, 388 F. Supp. 3d at 221-22.

   Under the facts and circumstances of this case, in which the lives and safety of



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   innocents were ultimately at risk, this factor could not bear the weight assigned

   to it. The court did not adequately balance the need for rehabilitation against the

   competing punitive goals of sentencing recognized by section 3553(a), including

   the needs for the sentence "to reflect the seriousness of the offense, to promote

   respect for the law, and to provide just punishment for the offense;" "to afford

   adequate deterrence to criminal conduct;" and "to protect the public from further

   crimes of the defendant." 18 U.S.C. § 3553(a)(2). We now turn to these

   considerations.


                  C.     The Section 3553(a) Factors


         In its discussion of the length of Ceasar's term of imprisonment, the district

   court aimed to "minimize the amount of time [Ceasar] would go without

   effective medical and social supports." Ceasar, 388 F. Supp. 3d at 222. It did not

   meaningfully balance that concern against the seriousness of Ceasar's offenses,

   the goals of general and specific deterrence, the need to protect the public from

   future crimes Ceasar could commit, and the need to avoid unwarranted

   sentencing disparities among defendants with similar records who have been

   found guilty of similar conduct. 18 U.S.C. § 3553(a)(2), (a)(6).




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         The district court recognized that Ceasar's crimes were "serious" and that

   she "was not simply an individual who posted propaganda; she intentionally and

   knowingly connected individuals in the United States with those abroad who

   would do the United States harm." Ceasar, 388 F. Supp. 3d at 220. We cannot

   reconcile that with the 48-month sentence imposed.


         Strikingly—yet nearly absent from the district court's discussion—Ceasar

   had already exhibited recidivist behavior while on release awaiting sentencing.

   To be sure, the district court acknowledged that "Ceasar's deletion of her

   communications with others while on presentence release impeded the

   government's ability to investigate the extent of her bail violations." Id. at 220.

   But that captures only a small part of her conduct underlying the post-release

   Obstruction Offense: recreating pseudonymous social media accounts to

   reconnect with ISIS supporters; deleting incriminating communications to evade

   punishment and encouraging others to do the same; and then making false and

   misleading statements to law enforcement when questioned about this conduct.

   The district court recognized the experts' disagreement as to Ceasar's "risk of

   reoffending," but did not address the remarkable fact that, independent of the

   experts' opinions, Ceasar had indeed already reoffended. Id.



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         The district court's conclusion that "rehabilitation and specific deterrence

   of [Ceasar] seem to go hand in hand" is further subject to question in light of the

   fact that Ceasar was already being treated by Dr. Porterfield when she

   reoffended while on presentence release. Id. Indeed, Dr. Porterfield testified that

   she was unaware that Ceasar was reoffending even though, to the best of her

   recollection, she had met with Ceasar during that time. The district court did not

   address the tension between connecting Ceasar's rehabilitation to specific

   deterrence and the fact that Ceasar was receiving therapy to correct her

   problematic decision-making while she had resumed her criminal conduct—and

   then attempted to conceal it from law enforcement authorities (and presumably

   from Dr. Porterfield).


         Ceasar mischaracterizes her behavior while on presentence release as

   "contact[ing] former friends, some of whom she had cooperated against." Def.

   Br. at 46. This conduct, according to Ceasar, "did not amount to new criminal

   conduct or 'recidivism' on [its] own." Id. But the context in which Ceasar

   engaged in such conduct is crucial. She went beyond reaching out to old friends.

   She violated the express terms of her presentence release by obtaining and using

   a laptop to resume her operation of pseudonymous social media accounts in



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   order to contact or attempt to contact several people she knew to be supporters

   of ISIS or other extremist groups. She deleted incriminating social media and

   text messages, emails, audio files, and images and instructed others with whom

   she had been in contact to do the same. She then lied to the FBI about it. While

   Ceasar may have been searching for a community and a sense of belonging in

   her course of recovery from a lifetime of abuse and neglect, that can only go so

   far in determining—in light of her remarkably dangerous and unlawful

   conduct—a just and adequate punishment.


         Indeed, despite recognizing Ceasar's violations of the conditions of her

   presentence release to some extent, the district court's sentencing of Ceasar for

   these additional offenses was remarkably low. Of the total 48-month sentence

   imposed, the court sentenced Ceasar to 46 months for the Material Support

   Offense, one month for the Obstruction Offense, and only one month for

   committing an offense while on bail, pursuant to 18 U.S.C. § 3147. Gov't App'x at

   467-68; Ceasar, 388 F. Supp. 3d at 223. We conclude that the district court abused

   its discretion as a matter of law by failing to give adequate weight to the gravity

   of Ceasar's reoffending conduct while on presentence release, her conduct taken




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   to obstruct justice, and the demonstrated threat she posed to the public when at

   liberty.


          Finally, it does not appear that the district court considered whether

   Ceasar's sentence would be "shockingly low" compared with the sentences

   imposed on other defendants with similar records who committed similar

   terrorism crimes. Mumuni, 946 F.3d at 107 (internal quotation marks omitted); see

   18 U.S.C. § 3553(a)(6). To be sure, "[u]ltimately, what shocks the conscience

   depends on the informed intuition of the appellate panel. It is a highly

   contextual standard that involves some degree of subjectivity in its application . .

   . ." Mumuni, 946 F.3d at 107 (internal quotation marks and footnotes omitted).

   But the sentences imposed in a handful of recent material support cases illustrate

   the unwarranted disparity reflected by the 48-month sentence imposed here. 3


          In United States v. Naji, No. 16-cr-653 (FB) (E.D.N.Y. June 11, 2019), for

   example, defendant Mohamed Naji pleaded guilty to one count of attempting to


   3We do not require district courts to "discuss every § 3553(a) factor individually," nor
   do we "require robotic incantations by district judges." United States v. Villafuerte, 502
   F.3d 204, 210 (2d Cir. 2007) (internal quotation marks omitted). Indeed, "this Court
   presumes that the sentencing judge has considered all relevant § 3553(a) factors and
   arguments unless the record suggests otherwise." United States v. Rosa, 957 F.3d 113, 118
   (2d Cir. 2020). In this case, though, the record suggests that the district court failed to
   consider some relevant sentencing factors, including the need to avoid unwarranted
   sentence disparities.

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   provide material support to ISIS, in violation of 18 U.S.C. § 2339B. Gov't

   Sentencing Mem. at 9, Naji, No. 16-cr-653 (FB) (E.D.N.Y. June 11, 2019), ECF No.

   21. Naji, like Ceasar, posted violent, pro-ISIS content on social media, but went a

   step further: He in fact traveled to Yemen to join ISIS, whereas Ceasar was

   intercepted at JFK on her way to ISIS-controlled territory. Id. at 1-9. Naji, like

   Ceasar, attempted to conceal his activities and obstruct justice by instructing

   those with whom he was communicating to delete their messages, but Naji's plea

   agreement protected him from an obstruction charge. Id. at 9 n.2. The district

   court sentenced Naji to the statutory-maximum 240 months' imprisonment.

   Judgment at 2, Naji, 16-cr-653 (FB) (E.D.N.Y. June 27, 2019), ECF No. 25.


         In United States v. Saidakhmetov, No. 15-cr-95 (WFK), 2018 WL 461516

   (E.D.N.Y. Jan. 18, 2018), the district court sentenced the defendant to the

   statutory maximum of 15 years where the defendant pleaded guilty to one count

   of conspiring to provide material support to a terrorist organization, in violation

   of 18 U.S.C. § 2339B(a)(1). Id. at *1. Like Ceasar, Saidakhmetov was "in contact

   with ISIL operatives and supporters." Id. at *2. Saidakhmetov and his co-

   conspirator took steps to join ISIL, including planning travel to ISIL-controlled

   territory. Id. Also like Ceasar, he was arrested at JFK when attempting to travel



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   to Turkey. Id. Saidakhmetov faced a Guidelines range of 360 months' to life

   imprisonment; the statutory maximum was 180 months (15 years), which the

   district court imposed. Id. at *3-4. Saidakhmetov's co-conspirator, Juraboev, also

   received a sentence of 180 months' imprisonment. United States v. Juraboev, No.

   15-cr-95 (WFK), 2017 WL 5125523, at *1, 2017 U.S. Dist. LEXIS 181402, at *2

   (E.D.N.Y. Nov. 1, 2017). Juraboev, like Saidakhmetov, pleaded guilty to one

   count of conspiracy to provide material support to a terrorist organization.

   Juraboev had, inter alia, expressed support for ISIL online, and, like

   Saidakhmetov, purchased a plane ticket to travel to Turkey and planned to

   continue on to Syria. He was arrested at his apartment in Brooklyn. Id., 2017 WL

   5125523, at *2, 2017 U.S. Dist. LEXIS 181402, at *7-8.


         Perhaps the most obvious difference between these cases and Ceasar's is

   that Ceasar was not going to take up arms to fight on behalf of ISIS. Ceasar was

   an intermediary who connected U.S.-based individuals to others overseas who

   could assist them in traveling to ISIS-controlled areas. Ceasar did, however, plan

   to travel to ISIS-controlled territory and marry another ISIS supporter on the

   way. Like Saidakhmetov, she was arrested while attempting to leave the United

   States to travel to ISIS territory. While Ceasar's conduct may not have risen to



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   the level of criminality engaged in by some of these other defendants, the

   difference in the length of the sentences seems significantly out of proportion to

   the difference in the seriousness of their not-so-dissimilar crimes. 4


         Ceasar argues that the cases to which the government cites are inapposite

   because the mitigating circumstances present here render the instant case

   distinguishable. For the reasons discussed above, however, we conclude that the

   mitigating factors—the abuse Ceasar has suffered and her ensuing needs for

   mental healthcare and rehabilitation—may merit significant consideration but

   cannot bear the apparently decisive weight assigned to them by the district court.

   That such mitigating circumstances were not present in these other cases,



   4 An opinion from the Fourth Circuit, albeit a "summary opinion" and therefore deemed
   by that court to be non-precedential, is similarly instructive. In United States v. Young,
   818 F. App'x 185 (4th Cir. 2020), the Fourth Circuit affirmed a 15-year sentence imposed
   on Young, who was charged with attempting to provide material support to ISIL and
   attempting to obstruct justice. Id. at 188-89. Unbeknownst to Young, he was in
   communication with an FBI informant, he "advised [the informant] on how to travel
   abroad without being flagged by authorities," and, as prompted by the informant,
   transmitted Google gift cards to be used to buy encrypted messaging accounts,
   ostensibly in order to recruit more ISIL fighters. Id. at 189. Like Ceasar, Young does not
   himself seem to have planned to become an ISIL fighter. The court focused instead on
   Young's recruiting others, examined comparable material support sentences in the
   Fourth Circuit, and emphasized the district court's conclusion that it was "important for
   people to understand that if they intend to provide material support for a terrorist
   organization . . . there's a very harsh penalty to be paid." Id. at 194 & n.10 (internal
   quotation marks omitted).



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   therefore, does not so drastically distinguish them in Ceasar's favor as to warrant

   a 48-month sentence.


         Ceasar invokes this Court's decision in Thavaraja—in which we upheld a

   below-Guidelines sentence of 108 months—as a relevant comparator. See

   Thavaraja, 740 F.3d at 260. While the defendant's conduct in that case was

   undoubtedly serious, we noted the district court's finding that his procuring of

   weapons for a foreign terrorist organization "was motivated solely to assist the

   Tamil minority in Sri Lanka who were engaged in an ongoing civil war." Id. at

   262 (internal quotation marks omitted). By contrast, Ceasar did not assist

   "people who certainly pose no direct threat to the United States," id. at 261

   (internal quotation marks omitted). She aided an organization that intentionally

   targets the United States and its citizens. Moreover, the defendant in Thavaraja

   was described as "a very model, positive inmate," id. at 257 (internal quotation

   marks omitted), who "had accepted full responsibility for his crimes," id. at 260.

   By contrast, Ceasar, as she explained, acted out of anxiety "to find a way out of

   [her] situation," such that she failed to "realize the severity of what people could

   convince [her] into believing." Gov't App'x at 447. She also did not consistently

   accept responsibility for her criminal conduct. Her offense conduct while out on



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   presentence release reflected an extraordinary breach of trust and evidenced her

   likelihood of reoffending. When the FBI interviewed her about this conduct, she

   lied. She also had attempted to conceal her offending conduct while on

   presentence release by intentionally deleting incriminating communications and

   by instructing others with whom she had been in contact to do the same. These

   facts alone render Thavaraja distinguishable from the instant case.


         Although every case is unique and no two defendants are ever exactly

   alike, the significant differences between the sentences imposed on Naji,

   Saidakhmetov, Juraboev, and Young, on the one hand, and Ceasar on the other,

   reflect a troubling and unwarranted disparity "among defendants with similar

   records who have been found guilty of similar conduct." 18 U.S.C. § 3553(a)(6).

   That disparity, coupled with the seriousness of Ceasar's Material Support and

   Obstruction Offenses, her demonstrated recidivist tendencies while on

   presentence release, and her attempts to cover up her conduct by deleting

   incriminating material and lying to law enforcement authorities, lead us to

   conclude that the 48-month sentence imposed on Ceasar "shocks the conscience."

   Mumuni, 946 F.3d at 107 (internal quotation marks omitted).




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                                    CONCLUSION


         Our jurisprudence in this area is built on the understanding that district

   courts are generally better positioned than appellate courts to make sentencing

   determinations. See United States v. Broxmeyer, 699 F.3d 265, 289 (2d Cir. 2012). It

   is the role of this Court, however, "to patrol the boundaries of reasonableness" of

   those decisions. Stewart I, 590 F.3d at 135 (internal quotation marks omitted).

   For the reasons stated at some length above, we conclude that Ceasar's far-

   below-Guidelines sentence was outside the bounds of what was reasonable in

   light of the facts and circumstances of this case. While Ceasar's need for

   rehabilitation from years of trauma and abuse was one factor that the district

   court could have properly taken into consideration at sentencing—perhaps it

   may indeed merit, in the court's discretion, a below-Guidelines sentence—the

   district court's assigning it overwhelming weight while failing to give adequate

   consideration to the competing goals of sentencing—including the need for the

   sentence to protect the public, deter criminal conduct of the defendant

   specifically and others generally, promote respect for the law, and reflect the

   seriousness of the offense committed—was an abuse of discretion. For the




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   foregoing reasons, we VACATE the judgment of the district court and REMAND

   for resentencing consistent with 18 U.S.C. § 3553(a) and this opinion.




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